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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA

------------------------------------------------------------- x
ANNE BRYANT,                                                  :
                                                              :
                                    Plaintiff,                :
         -against-                                            :
                                                              :   Case No. 8:19-cv-00442-MSS-CPT
                                                              :
HASBRO INC.; WILDSTAR MUSIC INC                               :
(ASCAP) d/b/a HASBRO, INC.; STARWILD                          :
MUSIC INC (BMI) d/b/a HASBRO INC.;                            :
APOLLO’S CHARIOT MUSIC (ASCAP) d/b/a :
HASBRO INC.; BANANA ALERT MUSIC                               :
(BMI) d/b/a HASBRO INC.; JOHN AND JANE :
DOES 1-5; ABC CORPORATIONS 1-5,                               :
                                                              :
                                                              :
                                    Defendants.               :
------------------------------------------------------------- X

               UNOPPOSED MOTION FOR ADMISSION TO APPEAR
        PRO HAC VICE AND WRITTEN DESIGNATION AND CONSENT TO ACT

        Russell T. Gorkin (“Movant”), pursuant to Local Rule 2.02, moves for an order allowing

him to appear in this case pro hac vice as counsel on behalf of Defendant Hasbro, Inc., and

submits this Written Designation and Consent to Act, and in support thereof states and certifies:

        1.       Movant is not a resident of the State of Florida but he has been, and presently is, a

member in good standing of the bar of the highest court of the State of New York, where Movant

regularly practices law, and where his registration number is 5100367. Movant is also admitted

to practice in the Eastern District of New York, the Southern District of New York, and the

Court of Appeals for the Second Circuit. Movant is currently appearing pro hac vice in this

Court on behalf of Defendant Hasbro, Inc. in another action filed by the same plaintiff (i.e., Anne

Bryant), which is styled as Bryant v. Hasbro, Inc. et al., 8:18-cv-01336-CEH-CPT.

        2.       Movant is an attorney at the law firm of Proskauer Rose LLP, with offices at:

Eleven Times Square, New York, NY 10036, (212) 969-3496. Movant has been retained as an
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attorney at the above named law firm by Hasbro, Inc. to provide legal representation in

connection with the above-styled matter now pending before the above-named court.

       3.      Movant designates Matthew Triggs and the law firm of Proskauer Rose LLP,

2255 Glades Road, Suite 421-A, Boca Raton, FL 33431, as the lawyer and law firm upon whom

all notices and papers may be served and who will be responsible for the progress of the case,

including the trial in default of the non-resident attorney.

       4.      Through his signature affixed below, Matthew Triggs of the law firm of

Proskauer Rose LLP, hereby consents to such designation.

       5.      Pursuant to Local Rule 2.02(a), Movant certifies that he will comply with the fee

and e-mail registration requirements of Rule 2.01(d).

                                  Local Rule 3.01(g) certification

       Counsel for Hasbro, Inc. has conferred with Plaintiff (who is acting pro se) regarding this

motion and confirmed that Plaintiff has no opposition to the relief sought herein.

Dated: April 8, 2019.                          s/ Russell T. Gorkin
                                               Russell T. Gorkin, Esq.
                                               PROSKAUER ROSE LLP
                                               Eleven Times Square
                                               New York, NY 10036
                                               Telephone: (212) 969-3496
                                               rgorkin@proskauer.com

                                               s/ Matthew Triggs
                                               Matthew Triggs
                                               Florida Bar No. 0865745
                                               Jessica Greenburg
                                               Florida Bar No. 100827
                                               PROSKAUER ROSE LLP
                                               2255 Glades Road, Suite 421-A
                                               Boca Raton, Florida 33431
                                               Telephone: (561) 241-7400
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                                               mtriggs@proskauer.com
                                               jgreenburg@proskauer.com

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                                            Counsel for Defendant Hasbro, Inc.


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 8, 2019, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day on the pro se Plaintiff via email at annebryantmusic@me.com and via

UPS at the following Florida address:


       Ms. Anne Bryant
       2601 Jefferson Circle
       Sarasota, FL 34239


                                            s/ Matthew Triggs
                                            Matthew Triggs




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